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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MATTEL, INC.,

                       Plaintiff,                   Case No. 24-cv-07048

       v.                                           Judge Lindsay C. Jenkins

THE PARTNERSHIPS and                                Magistrate Judge Young B. Kim
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Mattel, Inc.

(“Plaintiff”) hereby dismisses this action, with leave to reinstate within two hundred and seventy

(270) days, as to the following Defendants:

                 Defendant Name                                         Line No.
                    Starstar788                                            88
                  Ukmaxwalker                                             101
                  UKprimrose21                                            102
                   ZunxiangUK                                             122
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Dated this 29th day of August 2024.   Respectfully submitted,

                                      /s/ Rachel S. Miller
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      Rachel S. Miller
                                      Berel Y. Lakovitsky
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